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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO. 18-CV-62593-GAYLES

  FEDERAL TRADE COMMISSION,
          Plaintiff,

  vs.

  SIMPLE HEALTH PLANS LLC, et al.,
          Defendants.
                                                    /

                                                   ORDER
          THIS MATTER came before the Court upon the First Motion for Award of Professional

  Fees and Reimbursement of Expenses for the Period of October 30, 2018 – June 30, 2019 (the

  “Motion” or the “Fee Application”) [ECF No. 197] filed by Michael I. Goldberg, the Court-

  appointed receiver 1 (the “Receiver”), pursuant of Section XVIII of the Preliminary Injunction

  [ECF No. 139]. The Court has reviewed the Application and finds that the Receiver has made a

  sufficient and proper showing in support of the relief requested. Accordingly, it is

          ORDERED AND ADJUDGED that the Fee Application is GRANTED. The Receiver

  and his professionals are awarded their interim fees and reimbursement of costs for the period of

  October 30, 2018 – June 30, 2019, in the amounts set forth in the Application.

          DONE AND ORDERED in Chambers at Miami, Florida this 22nd day of August, 2019.



                                                            ________________________________
                                                            DARRIN P. GAYLES
                                                            UNITED STATES DISTRICT JUDGE



  1
   The Court-appointed Receiver over Defendants Simple Health Plans LLC, Health Benefits One LLC, Health Center
  Management LLC, Innovative Customer Care LLC, Simple Insurance Lead LLC, Senior Benefits One LLC, and each
  of their subsidiaries, affiliates, and successors (collectively, the “Receivership Entities”).
